           Case 2:03-cr-00371-JAM Document 227 Filed 07/05/05 Page 1 of 2


 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     DWIGHT FOWLER
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 8
                         IN THE UNITED STATES DISTRICT COURT
 9
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,           )
12                                       ) NO. CR.S-03-371-MCE
                      Plaintiff,         )
13                                       )
          v.                             )             AMENDED
14                                       )      STIPULATION AND ORDER;
                                         )         EXCLUSION OF TIME
15                                       )
     DWIGHT FOWLER,                      )
16                                       ) Date: July 26, 2005
                    Defendant.             Time: 8:30 a.m.
17   _____________________________         Judge: Hon. Morrison C. England

18        IT IS HEREBY STIPULATED by and between the parties hereto through

19   their respective counsel, WILLIAM WONG, Assistant United States

20   Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal

21   Defender, attorney for Defendant, that the previously scheduled status

22   conference hearing date of June 28, 2005 be vacated and the matter set

23   for status conference on July 26, 2005 at 8:30 am.

24        This continuance is requested to allow defense counsel additional

25   time to review discovery with the defendant, to examine possible

26   defenses and to continue investigating the facts of the case.

27        Accordingly, all counsel and the defendant agree that time under

28   the Speedy Trial Act from the date this stipulation is lodged, through
              Case 2:03-cr-00371-JAM Document 227 Filed 07/05/05 Page 2 of 2


 1   July 26, 2005, should be excluded in computing the time within which
 2   trial must commence under the Speedy Trial Act, pursuant to Title 18
 3   U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
 4   DATED:     July 6, 2005.                  Respectfully submitted,
 5                                                   QUIN DENVIR
                                                     Federal Public Defender
 6
                                                     Mark J. Reichel
 7
     DATED:     July 6, 2005.                        /s/MARK J. REICHEL
 8                                                   MARK J. REICHEL
                                                     Assistant Federal Defender
 9                                                   Attorney for Defendant
10
                                                     McGREGOR SCOTT
11                                                   United States Attorney
12
13   DATED:     July 6, 2005.                        /s/MARK J. REICHEL for
                                                     WILLIAM WONG
14                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
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16                                         O R D E R
17        IT IS SO ORDERED.       Time is excluded in the interests of justice
18   pursuant to 18 U.S.C. § 3161 (H)(8)(B)(iv) and Local Code T4.
19
20   DATED: July 5, 2005
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                                             ___________________________________
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                                             MORRISON C. ENGLAND, JR
24                                           UNITED STATES DISTRICT JUDGE

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